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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


GARY WUNSCH                                      *
                                                 *
                                                 *
           v.                                    *          Civil No. – JFM-14-4007
                                                 *
AMERICAN REALTY CAPITAL                          *
PROPERTIES, ET AL.
                                              ******

                                        MEMORANDUM


       I agree with the decision in Knox v. Agria Corp., 613 F. Supp. 2d 419 (S.D.N.Y. 2009)

rather than the opinion of my friend and colleague Judge Goodwin in Niitsoo v. Alpha Natural

Res., Inc., 902 F. Supp. 2d 797 (S.D.W.Va. 2012). I do not believe that the Supreme Court’s

opinion in Kircher v. Putnam Funds Trust, 547 U.S. 633 (2006) is material because this case

involves a class action based upon federal law. Thus, it is a “covered class action” under 15

U.S.C. §77p(b). Section 77p(c) is not relevant here because the asserted claims do not arise

under state law.

       For these reasons an order is being entered herewith denying plaintiff’s motion to remand

and transferring this action to the Southern District of New York, where it can be consolidated

with the seven suits that are presently pending there.




Date: April 14, 2015                  ____/s/_____________________
                                      J. Frederick Motz
                                      United States District Judge




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